

ORDER

PER CURIAM:
AND NOW, this 1st day of August, 2000, Richard Patsy Coppula, II, having been disbarred on consent from the practice of law in the State of Illinois by Order of the Supreme Court of the State of Illinois dated February 5, 1991; the said Richard Patsy Coppula, II, having been directed on May 22, 2000, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
ORDERED that Richard Patsy Coppu-la, II, is disbarred from the practice of law in this Commonwealth, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
